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 5                                UNITED STATES DISTRICT COURT
 6                                          DISTRICT OF NEVADA
 7
 8   UNITED STATES OF AMERICA,                 )
                                               )
 9                     Plaintiff,              )                Case No.: 2:11-cr-0381-JCM-GWF
                                               )
10   vs.                                       )                 ORDER
                                               )
11   ESTELITA PAULIN,                          )
                                               )
12                     Defendant.              )
     __________________________________________)
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14          This matter is before the Court on Defendant’s Sealed Ex Parte Motion for Conversion to
15   CJA Appointed Counsel (#116), filed on July 15, 2015.
16          Having reviewed the motion, the Court does not see why this motion should be filed under
17   seal and not served on the Government. It does not contain confidential financial information. If
18   the Defendant wishes to keep this motion sealed and ex-parte, she must provide the Court with
19   justification for doing so. The Defendant is otherwise ordered to serve the motion on the
20   Government and to re-file the motion on the record. Furthermore, the Defendant is ordered to file a
21   sealed, updated financial affidavit.
22          IT IS SO ORDERED.
23          DATED this 16th day of July, 2015.
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                                                  GEORGE FOLEY, JR.
26                                                United States Magistrate Judge
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